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EXH|B|T B-Z

 

 

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DOUGLAS COUNTY DISTRICT COURT, STATE OF

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Phone Number: 303-663-7200

 

Plaintiff: MICHAEL LE.VY
v.

Defendants: HOME DEPOT U.S.A, INC. d/ b / a,
THE HOME DEPOT, d/b/a HOME DEPO CO
USA.

 

David W. Krivit, No. 25916
B.ACHUS 8c SCI-IANKER, L.L.C.

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CIVIL COMPLAINT AND ]URY DEMAND

 

 

 

PLAlNTIFF Michael Levy, by and through his undersigned counscl, Bachus &

Schanker, LLC, provides his Civil Complaint as follows:
JURISI)ICTION AND VENUE

l. Plaintiff is a resident of Elbert County, Colorado.

2. At all times relevant hereto, Defendant Home Depot U.S.A., Inc. (“Home
Depot”) was a corporation, doing business in Douglas County, Colorado, with a principal
place of business, at 2455 Paces Ferry Rd., Atlanta, GA 30339.

3. The Home Depot operated Store No. 1516, located at lllll South Parker

Road Parker, CO. 80134.

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4. Pursuant to C.R.C.P. 98(0)(5), venue is proper in the District Court for
Douglas County.

FACTUAL ALLEGA'I`IONS

l. On September 2_6, 2011, Plaintiff Was a customer at the Home Depot Store
Number 1516, located at lllll South Parker Road Parker, CO. 80134.

2. While in the store, an employee and/or agent of the Home Depot failed to
properly set the brake on a hydraulic lift§ which was set on an incline, causing the lift to
roll down the incline, out of control, striking Plaintiff.

3. At all times relevant to this naction, the Home Depot controlled and
maintained all relevant areas, equipment, employees and agents.

4. At all times relevant to this action, the Home Depot had a duty to exercise
reasonable care in maintaining its equipment l

5. At all times relevant to this action, the Home Depot had a duty to properly
train its employees and agents regarding the safe operation of equipment

6. Plaintiff Was not comparatively negligent in causing the incident.

7. As a direct and proximate result of the incident, Plaintiff suffered injuries,

damages, harms and losses.

FIRST CLAIM OF RELIEF
jNegligence 1

8. Plaintiff incorporates all foregoing allegations
9. The Home Depot, and/or its agents and employees, knew or should have
known that parking the lift on an incline, without applying the brake created a dangerous

situation.

 

 

 

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'lO. The Home Depot and/or its agents and employees knew or should have
known that without proper training and instruction, serious personal injury could result
from the misuse and negligence regarding the lift

11. lt was foreseeable to the Home Depot that customers would be injured if
the equipment was not properly operated.

12. The l-lome Depot owed Plaintiff a duty of care to properly train its
employees and agents regarding the equipment and also owed a duty of care to properly
operate and maintain the safety of its equipment

l3. The Home Depot breached its duties of care by negligently, carelessly,
and without due regard, failing to maintain and monitor its equipment, failing to ensure
the safety of its equipment and failing to properly train and monitor its employees and

' agents.

14. The Home Depot’s breach of its duties has directly and proximately
caused Plaintiff to incur economic expenses and non-economic, harms, losses and
damages

SECOND CLAIM FOR RELIEF
Premises Liabili Pursuant to C.R.S.

     

15. Plaintiff incorporates all foregoing allegations

16. The Home Depot is a “landowner” in accordance with C.R.S. § 13-21-
]lS.

17. Plaintiff was an “invitee” in accordance with C.R.S. § 13-21-115.

18. To the extent that Plaintiff’s injuries, damages, harms and losses are

determined to have been caused by “a condition of real property” or by “activities

 

 

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conducted or circumstances existing on real property”, the Home Depot had a duty to
exercise reasonable care to protect Plaintiff against dangers of which the Home Depot l
actually knew about or should have known about

19. The Home Depot breached its statutory duties of care to Plaintiff by
failing to ensure the safe use and operation of the equipment and by failing to properly
train and supervise its employees and agents.

20. As a direct and proximate result of these breaches of statutory duties,

Plaintiff has suffered economic and non-economic damages, harms and losses.

WHEREFORE, Plaintiff prays forjudgment against I)efendant in an amount to be
determined by the trier of fact, for economic and non-economic damages, and for costs,
expert witness fees, attorneys’ fees, filing fees, pre-judgment interest and such other and

further relief as the Court may deem appropriate, just and proper.

JURY I)EMAND
Trial to a jury of six (6) is demanded on all issues so triable.
DATED: March 29, 2013
Respectfully submitted,

BACHUS & SCHANKER, LLC

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David Krivit

 

